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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  HEADWATER RESEARCH LLC,                         §
                                                  §
                                                  §
                  Plaintiff,                      §
                                                  §
  v.                                              §     CIVIL ACTION NO. 2:23-CV-379-JRG-RSP
                                                  §
  T-MOBILE USA, INC. and SPRINT                   §                      (LEAD CASE)
  CORP.,                                          §
                                                  §
                  Defendants.                     §

                                    MEMORANDUM ORDER

        Before the Court is the Motion to Strike Certain Opinions of Defendant T-Mobile’s Expert
 .
 Kevin Jeffay, filed by Plaintiff Headwater Research LLC. Dkt. No. 175.

          A substantively identical motion was filed in a parallel litigation: Headwater Research LLC

 v. Verizon Communications Inc., et al, 2:23-cv-00352-JRG-RSP. See Dkt. No. 178 in 2:23-cv-

 00352.

          For the reasons discussed in the Court’s ruling on the parallel motion (Dkt. No. 324 in

 2:23-cv-00352), the instant Motion is also GRANTED as to Dr. Jeffay’s opinions on (1) the OS-

 Switching NIA and (2) the iOS 7 through 10 NIA in his Invalidity and Rebuttal Reports, and

 otherwise DENIED.
         SIGNED this 3rd day of January, 2012.
          SIGNED this 23rd day of June, 2025.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
